        Case 2:18-cr-00292-RJC Document 1580 Filed 10/02/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

                       v.                          Criminal No. 18-292

ROBERT BOWERS


                                           ORDER

                             2nd day of October 2023, after due consideration of the joint
              AND NOW this _______

motion to extend deadline, IT IS HEREBY ORDERED that said motion is GRANTED.

              IT IS FURTHER ORDERED that the parties’ briefs regarding the unsealing of

documents shall be filed on or before October 16, 2023.


                                              s/Robert J. Colville
                                            ____________________________________
                                            HONORABLE ROBERT J. COLVILLE
                                            United States District Court Judge
